Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 1 of 30 PagelD 114

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

WILLINE BRYANT and MAX GRACIA SR.,
as Co-Personal Representatives of
the Estate of MAX GRACIA JR. I,

Plaintiffs, CASE NO: 6:17-CV-1423-ORL-31-KRS
V.

ORANGE COUNTY, FLORIDA,
ROBERT J. BUCK, IU],

MARYANNE EVANS,

KAREN CLAIRMONT,

ELSA GALLOZA-GONZALEZ, and
LYNN MARIE HARTER,

Defendants.

PLAINTIFFS’ FIRST AMENDED COMPLAINT
AND DEMAND FOR JURY TRIAL

COME NOW, WILLINE GRACIA and MAX GRACIA SR. ("Plaintiffs"), as Co-
Personal Representatives of the Estate of MAX GRACIA JR. II ("Garcia or Decedent"),
by and through their undersigned counsel, and hereby file, as of right, pursuant to Rule
15(a)(1)(B) of the Federal Rules of Civil Procedure, this First Amended Complaint against
ORANGE COUNTY, FLORIDA; ROBERT J. BUCK, III; MARYANNE EVANS; KA-
REN CLAIRMONT; ELSA GALLOZA-GONZALEZ; and LYNN MARIE HARTER
(collectively "Defendants" or, with the exclusion of ORANGE COUNTY, “Individual De-

fendants”) and respectfully state as follows:
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 2 of 30 PagelD 115

INTRODUCTION

1. Plaintiffs bring this civil rights action to redress the deprivation of rights,
privileges and immunities secured to Decedent by the Due Process Clause of the Fourteenth
Amendment of the United States Constitution and actionable through Title 42 U.S.C. Sec-
tion 1833, along with the related action for wrongful death under applicable state law.

PARTIES

2. Plaintiffs, WILLINE BRYANT (mother) and MAX GRACIA SR. (father)
are the biological parents of Decedent, who was 22 years of age at the time of his death,
and were duly appointed Co-Personal Representatives of the ESTATE OF MAX GRACIA
JR, II, by the General Sessions Court, Probate Division of Orange County, Florida on Au-
gust 17, 2016, File No. 2015-CP-2511.

3. Defendant ORANGE COUNTY, FLORIDA (“ORANGE COUNTY’) is a
municipal corporation and government entity located in Central Florida, in the Middle Dis-
trict of Florida, operating by virtue of the laws of the State of Florida and was responsible
for the care, custody, health and well-being of Gracia during his custody and confinement
at Orange County Corrections.

4. At all times material ORANGE COUNTY maintained, operated and
administered the jail facility known as Orange County Corrections (“OCC”) and, upon
information and belief, systematically failed to follow appropriate policies and procedures
to regulate the conduct of its medical personnel at OCC. Even if such appropriate policies
and procedure were in place, they were consistently either ignored or not enforced. Upon
information and belief, such noncompliance with any such existing policies and procedures
by OCC medical personnel was routinely tolerated by ORANGE COUNTY and, therefore,

became the custom or practice of ORANGE COUNTY and contributed to the
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 3 of 30 PagelD 116

establishment of a “culture of neglect” amounting to deliberate indifference to the health
and safety of detainees, including Gracia.

5. As used in this First Amended Complaint, “deliberate indifference to the
health and safety of Decedent” means that each of the Individual Defendants named herein
(a) had subjective knowledge of a risk of serious harm to Gracia that actually existed based
upon his known medical condition; (b) acted or failed to act in disregard of said risk; (c)
by conduct or omissions that amount to more than negligence or even gross negligence. A
substantial and inordinate delay in treatment can satisfy the third prong, even in the absence
of any intent by the provider to cause the injury, and can be actionable under 42 U.S.C.
1983 where such delay in treating a known risk of serious harm proximately causes the
injury. In this case, the deliberate indifference by the Individual Defendants, as more fully
set forth elsewhere in this First Amended Complaint, to the known risk of harm to Gracia
proximately caused his death.

6. At all times material, ORANGE COUNTY maintained, operated and ad-
ministered OCC’s Health Services Department known as Corrections Health Services
(hereinafter “CHS”) headed by ROBERT BUCK, III, M.D. ("BUCK"), ORANGE
COUNTY failed to follow or enforce appropriate policies and procedures to regulate the
conduct of medical personnel at OCC to ensure that detainees be given proper medical care
and treatment.

7. ORANGE COUNTY was and is responsible for the operation of OCC/CHS
including, but not limited to the following:

il establishing policies and procedures to regulate the conduct of em-

ployees, agents and servants of ORANGE COUNTY and enforcing
same;
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 4 of 30 PagelD 117

il. establishing the appropriate budget for ORANGE COUNTY,
OCC/CHS;

iii. approving specific expenses for ORANGE COUNTY, OCC/CHS,
including personnel training, staffing and medical equipment and
testing expenses; and

iv. ensuring that employees, agents and servants of ORANGE
COUNTY obeyed the laws of the United States and the State of
Florida.

8. ORANGE COUNTY, through OCC/CHS, had a duty to ensure that the con-
ditions of confinement and the health and safety of persons incarcerated at OCC/CHS, in-
cluding Gracia, are protected and in compliance with the Fourteenth Amendment of the
United States Constitution and the laws of the United States and the State of Florida.

9. ORANGE COUNTY is the local governmental entity that was ultimately
responsible for the care, custody, health and well-being of Gracia when he presented to the
jail and was held in custody.

10. Under 42 U.S.C. 1983, as more fully set forth in Count I below, ORANGE
COUNTY is liable by virtue of its own acquiesence to the conduct and the acts of its em-
ployees, to wit, Individual Defendants BUCK, EVANS, CLAIRMONT, GONZALEZ and
HARTER, which constituted a deliberate indifference to the health and safety of Decedent
and which were otherwise condoned, tolerated, or authorized, despite lip service to the
contrary, by ORANGE COUNTY.

11. Under 42 U.S.C. 1983, as more fully set forth in Counts II through VI be-
low, said Individual Defendants are individually liable to the extent their acts and omis-
sions constituted a deliberate indifference to the health and safety Decedent. Under appli-
cable state law, as more fully set forth in Count VII below, ORANGE COUNTY is liable
for the actions and omissions of its employee nursing staff which constituted medical mal-

practice under the doctrine of respondeat superior.
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 5 of 30 PagelD 118

12. Defendant BUCK (“BUCK”), a licensed physician, at all times material
served as the Medical Director of Corrections Health Services Department (CHS) which
supervises inmate care at OCC/CHS. At all times material hereto, BUCK acted under color
of state law in the course and scope of his employment or agency with ORANGE
COUNTY.

13. Defendant MARYANNE EVANS ("EVANS") was at all times material an
agent or employee of ORANGE COUNTY who worked at OCC/CHS as an Advanced
Registered Nurse Practitioner. At all times material hereto, EVANS was responsible for
providing medical and nursing care to inmates at OCC/CHS and acted under color of state
law in the course and scope of her employment with ORANGE COUNTY.

14, Defendant KAREN CLAIRMONT (““CLAIRMONT”) was at all times ma-
terial an agent or employee of ORANGE COUNTY who worked at OCC/CHS as a licensed
Registered Nurse. At all times material hereto, CLAIRMONT was responsible for provid-
ing medical and nursing care to inmate at OCC/CHS and acted under color of law in the
course and scope of her employment or agency with ORANGE COUNTY.

15. Defendant ELSA GALLOZA-GONZALEZ ("GONZALEZ") was at all
times material an agent or employee of ORANGE COUNTY who worked at OCC/CHS as
a licensed Registered Nurse. At all times material hereto, GONZALEZ was responsible
for providing medical and nursing care to inmates at OCC/CHS and acted under color of
state law in the course and scope of her employment with ORANGE COUNTY.

16. Defendant LYNN MARIE HARTER ("HARTER") was at all times
material an agent or employee of ORANGE COUNTY who worked at OCC/CHS as a

licensed Practical Nurse. At all times material hereto, HARTER was responsible for
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 6 of 30 PagelD 119

providing medical and nursing care to inmates at OCC/CHS and acted under color of state
law in the course and scope of her employment with ORANGE COUNTY.

17. At all times material, Gracia was a pre-trial detainee in custody at
OCC/CHS under the care and control of ORANGE COUNTY when he died in his jail cell
on August 10, 2015 as a result of the Defendants’ actions and omissions as more specifi-
cally set forth below. Gracia’s primary healthcare provider was BUCK, the only doctor
who attended him at OCC, who was assisted by numerous members of his medical staff
including the remaining Individual Defendants.

18. The potential beneficiaries of any recovery in this action and the relation-
ship each to Decedent are: (1) WILINE GRACIA, Decedent's natural mother; (2) MAX
GRACIA SR., Decedent's natural father; (3) THE ESTATE OF MAX GRACIA JR.

JURISDICTION AND VENUE
19. Subject matter jurisdiction is proper under 28 U.S.C. 1331 in that the action
herein arises under a federal statute, 42 U.S.C. 1983. Venue is proper in this district under
28 U.S.C. 1391 because Defendants are located or reside in the Middle District of Florida.
Venue is also proper in this district where all of the events giving rise to the claim occurred.
20. All conditions precedent to the filing of this action, including compliance
with Fla. Stat. Sections 766.106, 766.203, and 768.28(6) have been performed or have been

waived.
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 7 of 30 PagelD 120

FACTUAL BACKGROUND

21. Gracia was admitted to the OCC/CHS on August 6, 2015 after being treated
at the Orlando Regional Medical Center for dog bites to his legs and hands incurred during
his arrest earlier that day.

22. Gracia was initially assigned to the Infirmary as his housing unit due to his
injuries. BUCK also evaluated Gracia around this same time for his admission to the Infir-
mary. BUCK noted that Gracia had multiple dog bites with severe flesh involvement. The
diagnoses included multiple dog bites. It is noted that Gracia was “put back on his Depakote
for seizures." Other medications ordered include Augmentin, an antibiotic; ibuprofen, a
pain medication; and Tylenol #3, a pain medication.

23. BUCK documented that OCC/CHS nursing staff needed to verify Gracia’s
Atripla to see if he had been compliant in the community. If he was, the Atripla was to be
ordered. There is no documentation in the health record that this verification occurred, and
the Atripla was never ordered for Gracia, although it was known he was ITV positive. Upon
information and belief, BUCK never saw or inquired about Gracia again.

24, On August 7, 2015 at 1708 hours, EVANS, the most senior credentialed
non-physician provider treating Gracia, completed a Clinical List Update and changed the
documentation of Gracia’s problem in the health record to include the location of the
wounds-left posterior thigh and calf, and added a new order of wound care, There is no
physical assessment noted and no indication that EVANS actually saw Gracia.

25. On August 7, 2015 at 1720 hours, GONZALEZ completed a Nursing

Treatments note for wound care. No vital signs were obtained at that time. Gracia’s wounds
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 8 of 30 PagelD 121

were cleaned and dressed. It is noted that the wound was reddened with scant
serosanguineous drainage present.

26. On August 8, 2015 at 0707 hours, CLAIRMONT documented on a Nursing
Progress Note that she saw Gracia on August 7, 2015 and he was tolerating the medication
without complaint. There was no recordation on the Nursing Note to indicate the time of
the nursing evaluation. Notably however, no vital signs were obtained and no physical
assessment was done.

27. On August 8, 2015 at 1138 hours, GONZALEZ completed a Nursing Pro-
gress Note about Gracia that documented that he had removed his dressings to take a
shower prior to the nurse coming to do his wound care. Again, no vital signs were taken
and no physical assessment was done. Patient education included the risk of infection and
to increase his fluid intake. Gracia had no complaints per the Nursing Note. GONZALEZ’
nursing plan was to continue to monitor Gracia.

28. On August 8, 2015 at 1659 hours, GONZALEZ completed a Nursing Treat-
ment Note about Gracia’s daily wound care. She noted that the wound on his left leg was
reddened with scant serosanguineous drainage. The dressing was changed and GONZA-
LEZ noted that there were no signs or symptoms of infection.

29. On August 8, 2015 at 1713 hours, GONZALEZ documented that Gracia
complained of vomiting twice. Again, no physical assessment was conducted and no vital
signs were obtained. GONZALEZ notified a provider and odansetron was ordered and
given. GONZALEZ documented that she would continue to monitor Gracia. Nurse Prac-

titioner EVANS co-signed this order on August 9, 2015 at 1700 hours.
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 9 of 30 PagelD 122

30. On August 9, 2015 CLAIRMONT documented that Gracia’s dressing of his
left posterior thigh wound was changed at 0635 hours. She documented that the wound was
reddened with a large amount of bloody drainage. The technique used was non-sterile, and
the procedure was poorly tolerated by Gracia.

31. On August 9, 2015 at 0638 hours, CLAIRMONT completed a Nursing Pro-
gress Note that indicated Gracia was doing well with a clean, dry and intact dressing. Once
again, there were no vital signs obtained and no physical assessment was done. This note
is verbatim the same note that CLAIRMONT wrote on August 7, 2015 at 0707 hours.

32. That same day, August 9th, at 1029 hours, GONZALEZ completed a Nurs-
ing Progress Note in which she documented that Gracia complained of weakness and diz-
ziness. Vital signs were obtained that included an accelerated heart rate of 131 (tachycar-
dia), a blood pressure of 111/56, respirations of 22, oxygen saturation of 98%, and a tem-
perature of 97.4 °F. This was the first time that vital signs were obtained in the previous 55
hours. It was also the last time vital signs were obtained before Gracia was found dead in
his cell in the early morning hours of August 10, 2015. Notwithstanding his abnormally
high heartbeat, no physical assessment was done. GONZALEZ notified EVANS, who or-
dered an increased fluid intake. GONZALEZ stated that extra fluid was given and that she
would “continue to monitor Gracia.”

33. Later that same day, August 9th, at 2154 hours, HARTER documented ina
Nursing Note that Gracia refused to get up for his evening medications. She unilaterally
documented that a "refusal" was done, without any signed refusal by the patient, as though
Garcia was being intentionally non-compliant as opposed to simply being too weak to get

off his bed and take his medications. No vital signs were obtained by HARTER, even
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 10 of 30 PagelD 123

though his vital signs obtained by another provider eleven (11) hours earlier on August 9th
were clearly problematic and indicative of tachycardia.

34, Incredulously, nothing whatsoever was done by HARTER to further evalu-
ate his medical status, provide care and treatment or elevate him to a higher level of care
at an outside medical facility. It was clear, as was obvious to HARTER and the medical
staff at OCC/CHS at the time of her observation, that Gracia was declining rapidly. This
conduct or failure to act by HARTER both deviated from the appropriate standard of care
and evinced a deliberate indifference to the safety and health of Decedent. Rather than act
as his healthcare provider, HARTER, later joined by CLAIRMONT, chose to adopt the
role of his adversary and refused or deliberately failed to provide any further medical at-
tention until he was found eight (8) hours later in his cell with no detectable pulse or res-
piration by a corrections officer during breakfast service.

35. Shortly before midnight on August 9, 2015, a correctional officer and two
supervisors came to the cell which housed Gracia to effect his transfer to another housing
unit, 3B. According to reports by both Officer Vargas and his tour supervisor, Cpl. Garrett,
Garcia was lying on the floor groaning in a lethargic manner and appeared unresponsive to
their commands, CLAIRMONT was present for this interface. She rendered no medical
assistance or evaluation whatsoever. Instead, she advised the officers that Gracia was “fak-
ing or exaggerating his medical condition and inability to get up.” With the help of two
inmate workers, Officer Vargas was able to move Gracia to an adjacent cell (#19) in the
1B unit “where a recording camera [had been] installed in order to better ascertain the
validity of his proclaimed illnesses,” according to the report filed by Vargas. This occurred

at approximately 2316 hours on August 9th without any force or resistance from the

10
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 11 of 30 PagelD 124

lethargic Gracia who was noted as being “compliant” to whatever extent his physical
abilities permitted.

36. | Even after the move, neither CLAIRMONT nor any other medical staff
member made any attempt to assess or evaluate the medical condition of Gracia. At that
point a decision had been made to file disciplinary charges against Gracia and apparently
terminate all medical assistance. Approximately three hours later, on August 10th at 0258
hours, a corrections investigator attempted to interrogate Gracia in cell #19 regarding this
matter but Gracia was unable to reply. It is not known whether Gracia was dead or alive at
that point and no one attempted to ascertain his condition, It is not known whether this
development was reported to medical staff members who presumably were monitoring his
condition through the camera in his cell. ORANGE COUNTY has refused to provide a
copy of the video to undersigned counsel for their inspection. Nonetheless, during the five
hours Gracia was in cell #19 being monitored by camera, neither CLAIRMONT nor any
other medical staff member made any attempt to attend or assess their medical patient until
it later was reported at 0511 hours on August 10th that Gracia was no longer breathing.

37. On August 10, 2015 at 0313 hours, CLAIRMONT retrospectively docu-
mented that at 2100 hours on August 9, 2015, Gracia was observed twisting himself and
moaning loudly on the bed. He stated that he “can’t do it” and slid to the floor. Again there
is no explanation in the medical records as to why no care or treatment was rendered to
Gracia in those fateful eight (8) hours.

38. Less than 25 minutes later, at 0335 hours, CLAIRMONT retrospectively
created a second document, a Nursing Progress Note dated August 9, 2015 regarding

Gracia’s alleged behavior—refusing to follow corrections officers’ orders regarding a

11
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 12 of 30 PagelD 125

pending move to 3B— which resulted in the filing of a “DR” (Disciplinary Report) against
Gracia. She claimed that Gracia continued to lie on the floor on his back, "refusing all
treatment." Upon information and belief, these belatedly documented "observations" and
false characterizations by the medical staff at OCC/CHS were part of a cover-up of the
total lack of care rendered to Gracia during the critical hours preceding his otherwise avoid-
able demise. It is both notable and curious, to say the least, that while CLAIRMONT was
generating these retrospective notes at 3 o'clock in the morning on August 10th, she could
have been attending or looking in on her patient whose condition had obviously declined
dramatically in the preceding several hours.

39. Later that same day, August 10th, at 0802 hours, CLAIRMONT created yet
another retrospective Nursing Progress Note to the effect that an officer had notified her
earlier, at approximately 0515 hours, that Gracia was not breathing. According to the Note,
when she arrived, Gracia was lying supine in the bed without a pulse or respiration. Cardi-
opulmonary resuscitation efforts were initiated and continued until EMS arrived and as-
sumed care of Gracia. She documented that Gracia was transported by EMS at 0548 hours
on August 10, 2015. Upon information and belief, Gracia was already dead in his prison
cell before he was even transported by EMS.

40. Gracia was brought to the Orlando Regional Medical Center where he was
pronounced deceased on August 10, 2015 at 0609 hours. Although CLAIRMONT was
involved in the unsuccessful CPR efforts, she did not prepare any contemporaneous reports
or nursing notes until more than two hours had lapsed.

41. On August 10, 2015 at approximately 1100 hours, an autopsy was per-

formed by Dr. Gary Lee Utz, Chief Medical Examiner in the District Nine Office of the
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 13 of 30 PagelD 126

Medical Examiner, The autopsy report stated that the cause of death was septic shock com-
plicating infected dog bite wounds of lower extremity with human immunodeficiency virus
infection as a contributory factor. The manner of death was listed as a "homicide" due to
his incarceration.

42. The care and treatment or lack thereof provided by CLAIRMONT to Dece-
dent from August 8, 2015 to August 10, 2015 while he was incarcerated at the jail deviated
from the acceptable medical and nursing standard of care, and rose to the level of deliberate
indifference given what CLAIRMONT knew of Gracia's declining medical condition from
August 8th at approximately 5 PM when he started vomiting through the early morning
hours of August 10th when he was found dead in his cell after being totally unattended to
by medical staff for nearly eight (8) hours during which time he was under the direct care
of CLAIRMONT.

43. When CLAIRMONT returned for her shift on the evening of August 9,
2015, Gracia’s condition had worsened to the point that he was writhing on the bed and
refusing all assistance and medication. Instead of contacting a more credentialed provider,
she chose to ignore his obvious and serious health condition. CLAIRMONT did not attempt
to reevaluate Gracia or even check on his condition at any time during her shift, even
though she knew he was immunocompromised and at serious risk for infection. She should
have contacted a more credentialed provider immediately about his deteriorating condition;
she should have reviewed his health records and noted that the last vital signs obtained
were patently abnormal with no contemporaneous follow and informed a more credentialed
provider of those abnormal vital signs as well. Had CLAIRMONT taken any of those steps,

Garcia would have been sent immediately to the hospital. Instead, he was found with no

13
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 14 of 30 PagelD 127

pulse or respiration eight (8) hours later in his cell. CLAIRMONT’S inexplicable failure
to act in the face of known risk rose to the level of deliberate indifference when she chose
to ignore the clearly deteriorating condition of Gracia.

44, GONZALEZ deviated from the appropriate standard of care by failing to
properly monitor and/or identify the deterioration in Gracia’s physical and mental status;
by failing to contact a provider regarding her observations; and by failing to obtain vital
signs on August 7, 2015 and August 8, 2015. In addition, on August 8th, Gracia complained
of vomiting, and still GONZALEZ did not obtain vital signs. She also failed to properly
assess Gracia for his complaint. GONZALEZ did not re-evaluate Gracia after she medi-
cated him for vomiting.

45. On the morning of August 9, 2015 at 1029 hours, GONZALEZ obtained
abnormal vital signs for Gracia but failed to conduct a proper physical assessment of at that
time. While she did contact a more senior and credentialed provider, she failed to follow-
up with Gracia throughout the remainder of her shift to ascertain whether his condition
changed. This failure rose to the level of deliberate indifference as GONZALEZ knew that
Gracia was immunocompromised and was at significant risk for infection, and had a dan-
gerously rapid heart rate that would have serious consequences if allowed to continue, and
she did nothing. She should have had gone back to monitor Gracia’s condition as she doc-
umented in her nursing plan that she would, and to confirm Gracia’s worsening condition,
rather than simply ignoring him. Instead, Gracia was not seen until more than ten (10) hours
later, at approximately 2100 hours that evening, at which time his condition had deterio-

rated such that he was twisting and moaning in bed and refusing all assistance.

14
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 15 of 30 PagelD 128

46. EVANS deviated from the standard of care for an Advanced Registered
Nurse Practitioner when she failed to evaluate Gracia when notified that he was vomiting,
and then again the next day when he had a heart rate of 131 and respirations of 22. She
failed to document her plan of care for Gracia when she ordered anti-emetic medication on
August 8, 2105. On August 9, 2015 at 0500 hours when she co-signed the medication order,
EVANS failed to review Gracia’s chart and failed to act upon information in the chart that
noted his abnormal vital signs with no re-evaluation. She should have immediately evalu-
ated Gracia and sent him to the hospital for further evaluation and care. Instead, EVANS
failed to evaluate Gracia, and he was found approximately 12 hours later in his jail cell
with no pulse and no respiration. Upon information and belief, EVANS was responsible
for discharging Gracia from the infirmary at some unknown point in time without any
medical evaluation and sending him to the general population where the level of care was
significantly compromised, which was one of the specifications against her resulting in
issuance of a written reprimand in the aftermath of Gracia’s death.

47. These acts and omissions by EVANS constituted a deliberate indifference
to the health and safety of Gracia. EVANS was later terminated in June 2016 after being
overheard by a corrections officer and another detainee in responding to one of her patients
who had been asking about follow-up care regarding his injured foot as follows: “I’m so
tired of that damn foot. Fuck you and that foot, you piece of shit. I hope you die in jail and
never get out again.”

48. At all times during Gracia’s incarceration, ORANGE COUNTY through
the Orange County Corrections Health Services (CHS), under the directorship of BUCK,

was in charge of the healthcare program at OCC/CHS. As the medical director for CHS

15
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 16 of 30 PagelD 129

and ORANGE COUNTY, BUCK was responsible to ensure that the care provided to the
individuals at OCC/CHS was appropriate and timely, and provided by staff who were
properly trained. BUCK and CHS failed in these responsibilities when the care rendered to
Decedent fell significantly below the standard of care and rose to the level of an agency-
wide deliberate indifference to his serious medical condition. These failures are the legal
responsibility of ORANGE COUNTY for the reasons set forth in paragraphs 49 through
53 below.

49, ORANGE COUNTY, through CHS and BUCK, failed to provide medical
staff that were properly trained in assessment and the identification of serious medical con-
ditions. A complete assessment by nursing staff or by a more senior and credentialed pro-
vider was not conducted on Gracia when he was complaining of vomiting and dizziness,
when his vital signs deviated significantly from normal, when he could not even lift himself
off his bed or get off the floor, all of which clearly indicated that Gracia’s condition was
worsening.

50. ORANGE COUNTY, through CHS and BUCK, failed to appropriately su-
pervise medical staff to ensure that they were adhering to the purported policies and pro-
cedures of CHS which, at best, were honored in their breach and not their observance. The
fact that the three licensed medical professionals, CLAIRMONT, GONZALEZ and EV-
ANS, who had the most interface with Gracia, were issued written reprimands evidences
the unwritten custom and practices of ORANGE COUNTY.

51. Defendants CLAIRMONT, GONZALEZ, EVANS and HARTER, along

with others who were on duty during Gracia's incarceration, consistently failed to monitor
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 17 of 30 PagelD 130

his vital signs and periodically assess and evaluate him, even though they knew he was
immunocompromised and was at serious risk for infection due to his wounds.

52. ORANGE COUNTY, through CHS and BUCK, failed to monitor the med-
ication practices at the OCC/CHS, and as a result, the medication Gracia needed for his
life-threatening chronic disease, Atripla, was never verified and ordered. If CHS had been
conducting appropriate monitoring of their staff through a CQI program and peer review,
they would have been aware that their nurses were not conducting appropriate assessments
and interventions for their patients. CHS would have been aware that nursing staff were
not verifying medication appropriately. If CHS and BUCK had been monitoring the care
rendered by their providers, they would have discovered that EVANS was not evaluating
patients whose clinical status was worsening, was ordering medications and other treat-
ments without evaluating the patient, was discharging infirmary patients to the general
population with no documented assessment and was not reviewing the patients’ charts be-
fore signing off on verbal orders.

53. If CHS and BUCK had monitored their staff, they would have addressed
these and other deficiencies through education and training before Gracia was a patient at
the Orange County Jail. If these educational and training deficiencies had been addressed,
Gracia would have received appropriate and thorough care, his obviously worsening con-
dition would have been confronted sooner, and he would have been appropriately sent to a

higher level of care facility before he was found dead in his jail cell.

17
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 18 of 30 PagelD 131

COUNTI
42 U.S.C. 1983 CLAIM AS AGAINST ORANGE COUNTY

54. Plaintiffs hereby incorporate by reference paragraphs 1-53 of this First
Amended Complaint as though more fully set forth herein.

55.  Atall times relevant herein, Defendant ORANGE COUNTY, acting insti-
tutionally and through the Individual Defendants, was performing a traditional and discre-
tionary, as opposed to ministerial, local governmental function in operating a correctional
facility and was a state actor. All the actions and omissions alleged herein were performed
under color of state law.

56.  Atall times relevant to the events giving rise to this cause of action, Gracia
was a pre-trial detainee at OCC/CHS.

57. ORANGE COUNTY was responsible for Gracia’s well-being while he was
in custody at the OCC/CHS since he did not have the ability to obtain medical treatment
on his own or provide for his own well-being.

58. ORANGE COUNTY had a constitutional duty under the Fourteenth
Amendment of United States Constitution to provide Gracia with the basic necessities of
life, including, but not limited to, food, shelter, observation and proper medical care.

59. ORANGE COUNTY is liable under 42 U.S.C. 1983, as the primary policy-
maker, for tolerating and not correcting, a custom or practice to exist of deliberate indif-
ference to the serious medical needs of disabled and injured inmates, notwithstanding any
written protocols to the contrary. This entrenched inconsistency, between the written word
and the actual custom or practice, created a “culture of neglect” as an implied policy of the

agency.

18
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 19 of 30 PagelD 132

60. Upon information and belief, ORANGE COUNTY routinely acquiesced to
its medical staff not properly doing rounds, not properly documenting a detainee’s medical
conditions, not properly supervising and administering medical orders; all of which
amounted to a policy of deliberate indifference to the health and safety of detainees under
its care, including Decedent. Upon information and belief, other similar instances of harm
have previously occurred that would put ORANGE COUNTY on notice of the need for
further training; such previous instances will likely have evidentiary support after a rea-
sonable opportunity for discovery.

61. In the alternative, the nature of the responsibilities assumed by the state in
caring for detainees with clearly manifested physical impairments is such that the need for
adequate training of jail medical personnel is obvious and does not require notice of prior
incidents of harm.

62. ORANGE COUNTY is directly liable for the violation of Decedent's civil
rights due to the following practices or customs of ORANGE COUNTY which were in
effect at the time of this incident and which proximately caused Decedent's death:

i. ORANGE COUNTY failed to adequately and properly train and ed-
ucate their employees and agents with respect to the proper evalua-
tion of inmates suffering under disabilities or conditions which re-
quire medical stabilization before incarceration, monitoring persons
with obvious medical needs, transporting persons with obvious
medical needs, and handling persons with disabilities, with deliber-
ate indifference to the welfare of inmates, including Gracia;

ii. ORANGE COUNTY failed to adequately monitor and evaluate the
performance of their agents and employees with respect to the
proper evaluation of inmates suffering under disabilities or condi-
tions which require medical stabilization before incarceration, mon-

itoring persons with obvious medical needs, transporting persons
with obvious medical needs, and handling persons with disabilities,

19
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 20 of 30 PagelD 133

with deliberate indifference to the welfare of inmates, including
Gracia; and

iil. ORANGE COUNTY failed to properly fund and staff OCC and/or
CHS of ORANGE COUNTY, to ensure an appropriate amount of
licensed, trained and qualified medical professionals are present to

provide proper medical treatment to high-risk patients, with deliber-
ate indifference to the welfare of inmates, including Gracia.

63. ORANGE COUNTY purportedly reviewed the actions of its own employees
from booking through the death of Decedent. In reviewing its own employees’ actions,
ORANGE COUNTY found that its employees failed to actually physically observe Dece-
dent, take his vital signs or make a proper assessments at the required intervals as purport-
edly required by ORANGE COUNTY and CHS policy. Upon information and belief, in its
investigation, ORANGE COUNTY documented potential issues with respect to policy and
training regarding observation of inmates and proper recording of medical observations.
During this investigation, the nurses maintained that the facility was medically under-
staffed, presumably due to budgetary concerns, and that BUCK had an unwritten policy of
allowing documentation to be minimized to twice a week unless there was a change in the
patient's medical condition.

64. However, notwithstanding the findings of its investigation, ORANGE
COUNTY refused to significantly or meaningfully discipline or retrain any of its employ-
ees, including the Individual Defendants BUCK, EVANS, CLAIRMONT, GONZALEZ
and HARTER. The most severe discipline impose on any of the Individual Defendants
were written letters of reprimand to EVANS, CLAIRMONT and GONZALEZ, each of
whom were placed on paid administrative leave pending the outcome of the investigation,
without any resulting loss of pay or status. In effect, these individuals, who were directly

responsible for the death Gracia, were given a paid vacation and what amounted to no more

20
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 21 of 30 PagelD 134

than a slap on the wrist. Accordingly, ORANGE COUNTY effectively ratified and con-
doned such conduct and, for that reason as well, is liable under 42 U.S.C. 1983 for the
death of Gracia.

COUNT
42 U.S.C. 1983 CLAIM AS AGAINST BUCK

65. Plaintiffs hereby incorporate by reference paragraphs 1-53 of this First
Amended Complaint as though more fully set forth herein.

66. Defendant BUCK, a licensed medical doctor, at all times material served as
the Medical Director of Corrections Health Services Department (CHS) which supervises
inmate medical care at OCC/CHS. At all times material hereto, BUCK acted under color
of state law in the course and scope of his employment or agency with ORANGE
COUNTY and with deliberate indifference to the health and safety of Decedent.

67. At all times Gracia had an objectively serious medical need which was
known to and recognized by BUCK in his individual capacity and as the supervisor of the
other Individual Defendants.

68. Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of
BUCK’s failure to provide proper supervision regarding adequate and proper medical eval-
uation, treatment and care to Gracia while a pre-trial detainee at Orange County Correc-
tions. Said failure to provide adequate and proper medical care was the result of a deliberate
indifference on the part of the Individual Defendants, including BUCK, who was the most
senior and credentialed provider, with respect to the known medical condition and needs
of Gracia, all of which resulted in his death on August 10, 2015.

69. Specifically, BUCK failed to adequately supervise the monitoring, evalua-

tion and treating of Gracia, including the need for his transfer to a higher level of care

21
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 22 of 30 PagelD 135

facility. At all times material, Gracia was suffering from a serious dog bite injury coupled
with infection, and who displayed signs of an obvious and visible deteriorating physical
condition. As was fully known by BUCK, who originally assessed and admitted Gracia to
the infirmary on August 6th, Gracia had a preexisting medical condition and serious disa-
bility which, as BUCK well knew, caused Gracia to suffer a compromised immune system
while in the care and custody of BUCK and his medical staff. Upon information and belief,
despite being in charge of Gracia’s case, BUCK made no review of the nursing treatment
or progress notes nor did he ever visit or observe Gracia after his initial admission by
BUCK to the infirmary on August 6, 2015. This abdication of responsibility by BUCK
evinced a deliberate indifference to the risk of harm to Decedent, who remained at all times
BUCK’s patient.

70. Plaintiffs’ claim under 42 U.S.C. 1983 arises out BUCK’s deliberate indif-
ference to Gracia’s serious medical needs as set out in this First Amended Complaint,
which led to Decedent’s death. Such deliberate indifference to the health and safety of
Gracia deprived him of rights guaranteed under the Due Process Clause of the Fourteenth

Amendment of the United States Constitution which proximately caused his death.

COUNT Il
42 U.S.C. 1983 CLAIM AS AGAINST EVANS

71. Plaintiffs hereby incorporate by reference paragraphs 1-11, 13, 17-23, 24,
46-47, 50-52 and 64 of this First Amended Complaint as though more fully set forth herein.
72. EVANS was at all times material an agent or employee of ORANGE
COUNTY who worked at OCC/CHS as an Advanced Registered Nurse Practitioner. At all
times material hereto, EVANS was responsible for providing medical and nursing care to

inmates at OCC/CHS and acted under color of state law in the course and scope of her

22
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 23 of 30 PagelD 136

employment with ORANGE COUNTY and with deliberate indifference to the health and
safety of Decedent.

73. At all times relevant hereto, Gracia had an objectively serious and known
medical need.

74. Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of
EVANS’ failure to provide adequate and proper medical evaluation, treatment and care to
Gracia while a pre-trial detainee at Orange County Corrections. Said failure to provide
adequate and proper medical care was the result of a deliberate indifference on the part of
EVANS as to the known medical condition and needs of Gracia which resulted in his death
on August 10, 2015.

75, Specifically, EVANS failed to monitor, evaluate, treat and/or recommend
transport of Gracia to a higher level of care facility. At all times material, Gracia was suf-
fering from a serious dog bite injury coupled with infection, and who displayed signs of an
obvious and visible deteriorating physical condition. As was fully known by EVANS at all
times material, Gracia had a preexisting medical condition and serious disability which, as
EVANS knew, caused Gracia to suffer a compromised immune system while in the care
and custody of EVANS.

76. Plaintiffs’ claim under 42 U.S.C. 1983 arises out EVANS’ deliberate indif-
ference to Gracia’s serious medical needs as set out in this First Amended Complaint,
which led to his death. Such deliberate indifference to the health and safety of Gracia de-
prived him of rights guaranteed under the Due Process Clause of the Fourteenth Amend-

ment of the United States Constitution which proximately caused his death.

23
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 24 of 30 PagelD 137

COUNT IV
42 U.S.C. 1983 CLAIM AS AGAINST CLAIRMONT

77. Plaintiffs hereby incorporate by reference paragraphs 1-11, 14, 17-23, 26,
30-31, 34-40, 42-43, 50-51 and 64 of this First Amended Complaint as though more fully
set forth herein.

78. Defendant CLAIRMONT was at all times material an agent or employee of
ORANGE COUNTY who worked at OCC/CHS as a licensed Registered Nurse. At all
times material hereto, CLAIRMONT was responsible for providing medical and nursing
care to detainees at OCC/CHS and acted under color of law in the course and scope of her
employment or agency with ORANGE COUNTY and with deliberate indifference to the
health and safety of Decedent.

79. At all times relevant hereto, Gracia had an objectively serious and known
medical need.

80. Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of
CLAIRMONT?’S failure to provide adequate and proper medical evaluation, treatment and
care to Gracia while a pre-trial detainee at Orange County Corrections. Said failure to pro-
vide adequate and proper medical care was the result of a deliberate indifference on the
part of CLAIRMONT as to the known medical condition and needs of Gracia which re-
sulted in his death on August 10, 2015.

81. Specifically, CLAIRMONT failed to monitor, evaluate, treat and/or recom-
mend transport of Gracia to a higher level of care facility. At all times material, Gracia was
suffering from a serious dog bite injury coupled with infection, and who displayed signs of

an obvious and visible deteriorating physical condition. As was fully known by CLAIR-

24
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 25 of 30 PagelD 138

MONT at all times material, Gracia had a preexisting medical condition and serious disa-
bility which, as CLAIRMONT well knew, caused Gracia to suffer a compromised immune
system while in the care and custody of CLAIRMONT.

82. Plaintiffs’ claim under 42 U.S.C. 1983 arises out CLAIRMONT?’S deliber-
ate indifference to Gracia’s serious medical needs as set out in this First Amended Com-
plaint, which led to his death. Such deliberate indifference to the health and safety of Gracia
deprived him of rights guaranteed under the Due Process Clause of the Fourteenth Amend-

ment of the United States Constitution which proximately caused his death.

COUNT V
42 U.S.C. 1983 CLAIM AS AGAINST GONZALEZ

83. Plaintiffs hereby incorporate by reference paragraphs 1-11, 15, 17-23, 25,
27-29, 32, 44-45, 50-51 and 64 of this First Amended Complaint as though more fully set
forth herein.

84, Defendant GONZALEZ was at all times material an agent or employee of
ORANGE COUNTY who worked at OCC/CHS as a licensed Registered Nurse. At all
times material hereto, GONZALEZ was responsible for providing medical and nursing
care to detainees at OCC/CHS and acted under color of state law in the course and scope
of her employment with ORANGE COUNTY and with deliberate indifference to the health
and safety of Decedent.

85. At all times relevant hereto, Gracia had an objectively serious and known
medical need.

86. Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of

GONZALEZ’ failure to provide adequate and proper medical evaluation, treatment and

25
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 26 of 30 PagelD 139

care to Gracia while a pre-trial detainee at Orange County Corrections. Said failure to pro-
vide adequate and proper medical care was the result of a deliberate indifference on the
part of GONZALEZ as to the known medical condition and needs of Gracia which resulted
in his death on August 10, 2015.

87. Specifically, GONZALEZ failed to monitor, evaluate, treat and/or recom-
mend transport of Gracia to a higher level of care facility. At all times material, Gracia was
suffering from a serious dog bite injury coupled with infection, and who displayed signs of
an obvious and visible deteriorating physical condition. As was fully known by GONZA-
LEZ at all times material, Gracia had a preexisting medical condition and serious disability
which, as GONZALEZ well knew, caused Gracia to suffer a compromised immune system
while in the care and custody of GONZALEZ.

88. Plaintiffs’ claim under 42 U.S.C. 1983 arises out GONZALEZ’S deliberate
indifference to Gracia’s serious medical needs as set out in this First Amended Complaint,
which led to his death. Such deliberate indifference to the health and safety of Gracia de-
prived him of rights guaranteed under the Due Process Clause of the Fourteenth Amend-

ment of the United States Constitution and proximately caused his death.

COUNT VI
42 U.S.C. 1983 CLAIM AS AGAINST HARTER
89. Plaintiffs hereby incorporate by reference paragraphs 1-11, 16, 17-23, 33-
34, 51 and 64 of this Complaint as though more fully set forth herein.
90. Defendant HARTER was at all times material an agent or employee of OR-

ANGE COUNTY who worked at OCC/CHS as a licensed Practical Nurse. At all times

26
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 27 of 30 PagelD 140

material hereto, HARTER was responsible for providing medical and nursing care to de-
tainees at OCC/CHS and acted under color of state law in the course and scope of her
employment with ORANGE COUNTY and with deliberate indifference to the health and
safety of Decedent.

91. At all times relevant hereto, Gracia had an objectively serious and known
medical need.

92. Plaintiffs’ claim is brought pursuant to 42 U.S.C. 1983 and arises out of
HARTER’S failure to provide adequate and proper medical evaluation, treatment and care
to Gracia while a pre-trial detainee at Orange County Corrections. Said failure to provide
adequate and proper medical care was the result of a deliberate indifference on the part of
HARTER as to the known medical condition and needs of Gracia which resulted in his
death on August 10, 2015.

93, Specifically, HARTER failed to monitor, evaluate, treat and/or recommend
transport of Gracia to a higher level of care facility. At all times material, Gracia was suf-
fering from a serious dog bite injury coupled with infection, and who displayed signs of an
obvious and visible deteriorating physical condition. As was fully known by HARTER at
all times material, Gracia had a preexisting medical condition and serious disability which,
as HARTER knew, caused Gracia to suffer a compromised immune system while in the
care and custody of HARTER.

94. Plaintiffs’ claim under 42 U.S.C. 1983 arises out HARTER’S deliberate in-

difference to Gracia’s serious medical needs as set out in this First Amended Complaint,

27
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 28 of 30 PagelD 141

which led to his death. Such deliberate indifference to the health and safety of Gracia de-
prived him of rights guaranteed under the Due Process Clause of the Fourteenth Amend-

ment of the United States Constitution and proximately caused his death.

COUNT VII
MEDICAL MALPRACTICE AGAINST DEFENDANT ORANGE COUNTY

95. Plaintiffs hereby incorporated by reference paragraphs 1-53 of this com-
plaint as though more fully set forth herein.

96. While the Plaintiffs have alleged that the acts and omissions set forth herein
constituted deliberate indifference in violation of Gracia’s constitutional rights, Plaintiffs
alternatively plead that the conduct alleged herein constitutes at least ordinary negligence
and medical malpractice under the laws of the State of Florida.

97. The conduct of the Individual Defendants EVANS, CLAIRMONT, GON-
ZALEZ and HARTER breached the prevailing standard of care in the nursing community.
Said Individual Defendants committed medical negligence by denying Decedent access to
care and in failing to evaluate and treat him for sepsis, despite ample opportunity and evi-
dence of this illness. A referral to a higher level of care should have occurred no later than
the morning hours of August 9, 2015 when his vital signs deteriorated. A jail infirmary,
even if weil-staff and equipped, let alone a jail cell, is not the appropriate setting to treat an
individual displaying symptoms of Gracia. This breach of the standard of care was the
proximate cause of Decedent's death. Had Decedent been afforded appropriate and reason-
able medical care, he more likely than not would have survived.

98. Given the professional negligence of the Individual Defendants EVANS,

CLAIRMONT, GONZALEZ and HARTER, all of whom were employed by ORANGE

28
Case 6:17-cv-01423-GAP-LRH Document 29 Filed 09/18/17 Page 29 of 30 PagelD 142

COUNTY and acting within the scope of said employment, ORANGE COUNTY is liable

for such negligence under the doctrine of respondeat superior.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

in their favor as against Defendants named in each count, as follows:

(A)
(B)
(C)
(D)

any and all actual, compensatory damages under Counts I through VII;
pre-and post judgment interest as may be authorized by law;

reasonable attorney’s fees and costs under Counts I through VI; and
any such further relief as may be just and fair.

DEMAND FOR TRIAL BY JURY

Pursuant to Fed. R. Civ. P. 37, Plaintiffs hereby demand a trial by jury on all such

issues so triable.

S/ Jason J. Recksiedler, Esquire
JASON J. RECKSIEDLER, ESQUIRE
Florida Bar No.: 092060
NEJAME LAW, P.A.
189 S. Orange Avenue, Suite 1800
Orlando, FL 32801
Telephone: 407-500-0000
Facsimile: 407-802-1445
Email for service (FL R.Jud.Admin.2.516):
Primary email: Jason@nejamelaw.com;
Secondary email: Bianca@nejamelaw.com;
Litigation@nejamelaw.com

s/ Stephen J, Calvacca, Esquire
STEPHEN J. CALVACCA, ESQUIRE
Florida Bar No.: 561495

NEJAME LAW, P.A.

189 S. Orange Avenue, Suite 1800
Orlando, FL 32801

Telephone: 407-500-0000

Facsimile: 407-245-2980

29
Case 6:17-cv-01423-GAP-LRH

Document 29 Filed 09/18/17 Page 30 of 30 PageID 143

Email for service (FL R.Jud.Admin.2.516):

Primary email: civilservice@nejamelaw.com;

Secondary email: stephen@nejamelaw.com;
darlene@nejamelaw.com

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the

Court and a true and correct copy of the foregoing has been furnished through the CM/ECF

portal of the Middle District of Florida on this 18th day of September, 2017.

/s/ Jason J. Recksiedler, Esquire

JASON J. RECKSIEDLER, ESQUIRE

Florida Bar No.: 092060

NEJAME LAW, P.A.

189 S. Orange Avenue, Suite 1800

Orlando, FL 32801

Telephone: 407-500-000

Facsimile: 407-802-1709

Email for service (FL R.Jud.Admin.2.516):

Primary email: Jason@nejamelaw.com;

Secondary email: Bianca@nejamelaw.com;
Litigation@nejamelaw.com

/s/ Stephen J. Calvacca, Esquire

STEPHEN J. CALVACCA, ESQUIRE

Florida Bar No.: 561495

NEJAME LAW, P.A.

189 S. Orange Avenue, Suite 1800

Orlando, FL 32801

Telephone: 407-500-000

Facsimile: 407-245-2980

Email for service (FL R.Jud.Admin.2.516):

Primary email: civilservice@nejamelaw.com;

Secondary email: Stephen@nejamelaw.com;
Darlene@nejamelaw.com

30
